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                         IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


UTAH REPUBLICAN PARTY,                            STATE DEFENDANTS’ MOTION FOR
                                                  PARTIAL JUDGMENT ON THE
       Plaintiff,                                 PLEADINGS AND MEMORANDUM OF
                                                  LAW IN SUPPORT
CONSTITUTION PARTY OF UTAH, a
registered political party of Utah,

       Plaintiff and Intervenor,

v.
                                                      Case No. 2:14-cv-00876-DN-DBP
GARY R. HERBERT, in his Official Capacity
as Governor of Utah, and SPENCER J. COX,                   Judge David Nuffer
in his Official Capacity as Lieutenant Governor       Magistrate Judge Dustin B. Pead
of Utah,

       Defendants.
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                                              MOTION

         Defendants Governor Gary Herbert and Lieutenant Governor Spencer Cox (the State

Defendants), pursuant to Federal Rules of Civil Procedure 12(c) and DUCivR 7–1, move for

partial judgment on the pleadings on Plaintiff Utah Republican Party’s Third Cause of Action

(Trademark Infringement)1 and Plaintiff/Intervenor Constitution Party of Utah’s Third Claim for

Relief (Trademark Infringement).2 The bases of this motion are:

             The trademark claims brought by the Constitution Party and Republican Party (the

              Political Parties) are barred by Eleventh Amendment/sovereign immunity;

             The Political Parties’ trademark claims fail to state a claim because the State

              Defendants have not “used” any of the Political Parties’ alleged trademarks “in

              commerce” or “in connection with” any good or service; and

             Pursuant to the statutory scheme, the Political Parties consent to and permit the state

              to use their names and symbols on a ballot.

         For these reasons, and as fully described in the following Memorandum of Law in

Support of the Motion, the State Defendants respectfully request that the Court enter judgment,

dismissing the Political Parties’ trademark claims with prejudice.




1
    (Constitution Party’s Am. Compl. (doc. 30) at ¶¶ 42–47.)
2
    (Utah Republican Party’s Compl. (doc. 2) at ¶¶ 118–122.)
                                                  iii
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                                  MEMORANDUM OF LAW

                                       INTRODUCTION

       Plaintiff Utah Republican Party, and Plaintiff/Intervenor Constitutional Party of Utah

(collectively, the Political Parties) set forth a unique premise: Because Utah’s laws set limits on

which candidates appear on a ballot, their intellectual property rights in their names and symbols

are infringed if the political process ends up choosing a candidate that the central party would not

prefer. The State Defendants are shielded from suit, even for injunctive relief, by Eleventh

Amendment Immunity on this novel claim. But even if the State Defendants were not immune

from suit, the Political Parties’ theory has no basis in trademark law, and would expand the

protections afforded by the Lanham Act beyond Congress’s intent of protecting commercial

interests from unfair competition and confusion in the marketplace. The State Defendants are

not “competing” with the Political Parties, in commerce or otherwise. The State Defendants are

not commercially using any of the Political Parties’ trademarks. And the State Defendants, to

the extent they “use” the Political Parties’ marks, are only using them because the Political

Parties specifically permit their use. The Political Parties’ trademark claims suffer fatal flaws

which cannot be corrected. This Court should therefore dismiss the claims with prejudice.

                                     RELEVANT FACTS3

       1.       Plaintiff Utah Republican Party pleads that it is an unincorporated association

established under Title 20A of the Utah Code. It is a registered political party, as defined by

Utah election law predating 2015.4


3
   The facts are taken from the Political Parties’ Complaints and facts that may be judicially
noticed.
4
  (Republican Party’s Compl. (doc. 2) at ¶¶ 11, 32.)
                                                 iv
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       2.       Intervenor-Plaintiff Constitutional Party of Utah is a registered political party of

Utah and part of the National Constitution Party.5

       3.       The Republican Party of Utah applied to register a service mark with the United

States Patent and Trademark Office on February 04, 2015.6 That trademark is a design-plus-

word mark and is described as “an elephant where the top half has three stars therein and the

bottom half has the letters UTGOP therein, all of which is surrounded by a circle.” The

application seeks to register the mark under International Class 035 and U.S. Classes 100, 101,

and 102, for various political services.7     The first-use date on the application is listed as

November 2014. As the specimen of use of the mark, the Republican Party of Utah submitted an

Official Ballot from Salt Lake County dated Tuesday, November 4, 2014.8 The Republican

Party of Utah has not received a trademark registration for the mark.9

       4.       The Constitution Party of Utah filed a trademark registration with the Utah

Department of Commerce for “The Constitution Party of Utah,” on December 12, 2014. 10 The

trademark description is “the words ‘Constitution Party of Utah’ and an image of a flying eagle.”

The application registered the mark under International Class 035. The services listed for this

5
  (Constitution Party’s Am. Compl. (doc. 30) at ¶ 1.)
6
  See Trademark Application Serial No. 86/524,823 (attached hereto as Exhibit A).
7
   The services listed on the application are as follows: “[p]olitical campaign activities, namely,
arranging and conducting political events, meetings, and workshops; Political consultants;
Political party services, namely, promoting the interests of a political organization; Membership
services, namely, providing support to elected officials; Administering a club in the field of
politics; Membership services, namely, providing support to elected officials, volunteers, and
political candidates, and providing political caucuses; Endorsement services, namely, promoting
the goods and services of others.” Id; see also (Republican Party’s Compl. (doc. 2) at ¶ 47.)
8
  See Specimen of Use, USPTO Trademark Application Serial No. 86/524,823 (attached hereto
as Exhibit B, available at
http://tsdr.uspto.gov/documentviewer?caseId=sn86524823&docId=SPE20150207092333.)
9
  Id.
10
   See Certificate of Trademark No. 9263625-0190 (attached hereto as Exhibit C).
                                                 v
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class on their application was “Advertising; business management; business administration;

office functions.” The indicated the mode or manner in which the Mark will be used is “On

political advertisements, T-shirts, banners, cups, paraphernalia, websites etc.” The application

notes a first use date of January 2000.11

        5.       Utah Senate Bill 54 (“SB 54”), enacted in the 2014 General Session, modified the

Election Code as it relates to the nomination of candidates, primary and general elections, and

ballots.12

        6.       The provisions in SB 54 replaced Utah’s caucus and convention system for

selecting political nominees to a system that incorporates the ability for a candidate to be placed

to the primary ballot when they meet threshold requirements for voter support.13

        7.       SB 54 allows for two types of political parties, “Registered” political parties and

“Qualified” political parties. A Registered political party (“RPP”) is an organization of voters

that: participated in the last regular general election and in at least one of the last two regular

general elections, polled a total vote for any of its candidates for any office equal to 2% or more

of the total votes cast for all candidates for the United States House of Representatives in the

same regular general election; or has complied with the petition and organizing procedures of

20A-8.14



11
   Id.
12
   See S.B. 54, 2014 Gen. Sess., [hereinafter “S.B. 54”] (amending portions of Utah Code tit.
20A, chs., 1, 5, 6, 9, and enacting portions of Utah Code tit. 20A chs. 1, 9.) A copy of the session
law is attached as Exhibit 1 to the Republican Party’s Amended Motion for Preliminary
Injunction (doc. 13-1).
13
   (Constitution Party’s Am. Compl. at ¶ 10; Republican Party’s Compl. at ¶ 24.)
14
   (Id.); see also Utah Code § 20A-8-101(4).


                                                 vi
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        8.       To elect to participate as an RPP for an upcoming election, a party must comply

with Section 20-9-403. This means they must declare their intent to participate in the next

primary election, or declare that the party chooses not to have candidates on the ballot at the next

general election.15 This is done by filing their statement with the Lt. Governor no later than 5pm

on November 15 of the preceding odd-numbered year if they are a continuing party.

        9.       SB54 requires that an RPP identify one or more registered parties whose members

may vote for their candidates and whether or not unaffiliated voters may vote for their

candidates.16

        10.      Under SB 54 a candidate for elective office may choose to run for office by

demonstrating they have a reasonable amount of party voters’ support by completing a

nomination petition process and obtaining certification.17 Furthermore, if the leaders from the

party designated by the candidate as his or her party (or any other individuals) have an objection

to a candidate’s party designation, Utah law provides that those individuals may file an objection

within five days. 18.

        11.      A QPP is a registered political party that: a) allows voters who have not registered

with a political party (“unaffiliated”) to vote for their party’s candidates in a primary election; b)

permits a delegate of its party to vote on a candidate nomination in the party’s convention

remotely, or provides a procedure for designating an alternative delegate; c) does not hold the




15
   S.B. 54 § 13(2)(a)(i) (codified at Utah Code § 20A-9-403(2)(a)(i)).
16
   S.B. 54 § 13(2)(a)(ii) (codified at Utah Code § 20A-9-403(2)(a)(ii)).
17
   S.B. 54 §§ 13(3)-(4), 14(1) (codified at Utah Code §§ 20A-9-403(3)-(4), -405(1)).
18
   Utah Code § 20A-9-202(5)(a).
                                                  vii
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party’s convention before April 1 of an even year and; d) permits members of its own party to

seek nomination by either the party’s convention process, or by collecting signatures.19

        12.        Utah law requires that “each ticket is placed in a separate column on the ballot in

the order specified under Section 20A-6-305 with the party emblem, followed by the party name,

at the head of the column” and “the party name or title is printed in capital letters not less than

one-fourth of an inch high.”20

        13.        On the paper ballot sheets in regular general elections, “the party designation of

each candidate who has been nominated by a registered political party under Subsection 20A-9-

202(4) or Subsection 20A-9-403(5) is printed immediately adjacent to the candidate’s name....”21

On an electronic ballot, “the party designation of each candidate who has been nominated by a

registered political party under Subsection 20A-9-202(4) or Subsection 20A-9-403(5) is

displayed adjacent to the candidate’s name….”22

        14.        If a candidate is unaffiliated, not affiliated with an RPP, or not nominated with an

RPP in accordance with Utah law’s requirements, the candidate is listed on the ballot “without a

party circle.”23

        15.        Utah law further requires that, in the preparation of ballots for the general

election, the election officer must ensure that “no symbols, markings, or other descriptions of a

political party or group, except for a registered political party that has chosen to nominate its

candidates in accordance with Section 20A-9-403” may be used on the ballot and that there be…


19
   S.B. 54 § 10(12)(a)–(d) (codified at Utah Code § 20A-9-101(12)(a)-(d)).
20
   Utah Code § 20A-6-301(1)(d).
21
   S.B. 54 § 7(1)(g) (codified at Utah Code § 20A-6-303(1)(g)).
22
   S.B. 54 § 8(1)(g) (codified at Utah Code § 20A-6-304(1)(g)).
23
   S.B. 54 § 5(1)(g) (codified at Utah Code § 20A-6-301(1)(g)).
                                                   viii
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“no indication that a candidate for elective office has been nominated by, or has been endorsed

by, or is in any way affiliated with a political party or group, unless the candidate has been

nominated by a registered political party in accordance with Subsection 20A-9-202(4) or

Subsection 20A-9-403(5)”24

       16.      Utah law places the burden on each election officer to “ensure that: (a) each

person nominated by any registered political party under Subsection 20A-9-202(4) or Subsection

20A-9-403(5), and no other person, is placed on the ballot: (i) under the registered political

party’s name and emblem, if any; or (ii) under the title of the registered political party as

designated by them in their certificates of nomination or petition, or, if none is designated, then

under some suitable title; (b) the names of all unaffiliated candidates that qualify as required in

Title 20A, Chapter 9, Part 5, Candidates not Affiliated with a Party, are placed on the ballot.”25

       17.      Further, “[a] filing officer may not permit an official ballot at a regular general

election to be produced or used if the ballot denotes affiliation between a registered political

party or any other political group and a candidate for elective office who was not nominated in

the manner prescribed in this section or in Subsection 20A-9-202(4).”26

       18.      In other words, the only way a party’s name, “circle,” or other symbol may be

shown as affiliated with a candidate is if the political party consents to its use by notifying the

Lieutenant Governor of its choice to be an RPP or QPP, and the proper election procedures are
                                                                                                     27
followed.



24
   S.B. 54, § 5(1)(a)(ii)-(iii) (codified at Utah Code § 20A-6-301(1)(a)(ii)-(iii)).
25
   S.B. 54 § 5(2) (codified at Utah Code § 20A-6-301(2)).
26
   S.B. 54 § 13(1)(c) (codified at Utah Code § 20A-9-403(c)).
27
   See Paragraphs 8–17, supra.
                                                  ix
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                                      LEGAL STANDARD

       Defendants seek partial judgment on the pleadings pursuant to Federal Rule of Civil

Procedure 12(c). That rule provides that a party may move for judgment on the pleadings

“[a]fter the pleadings are closed—but early enough not to delay trial ….”28 A 12(c) motion

should be reviewed generally under the same standard of review applicable to a Rule 12(b)(6)

motion.29 In reviewing a 12(b)(6) motion to dismiss, the court assumes the truth of well-pleaded
                                                                                   30
facts and draws reasonable inference in a light most favorable to the plaintiff.        But a claim

survives only if “there is plausibility in the complaint.”31 “A claim has facial plausibility when

the plaintiff pleads factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.”32

       In reviewing a motion to dismiss, the Court may rely on the facts as alleged in the

complaint, but may also rely on all documents adopted by reference in the complaint, documents

attached to the complaint, documents “central” to plaintiff’s claims, or facts that may be

judicially noticed.33




28
   Fed. R. Civ. P. 12(c).
29
   Needham v. Fannie Mae, 854 F. Supp. 2d 1145, 1148 (D. Utah 2012) (citing Nelson v. State
Farm Mut. Auto. Ins. Co., 419 F.3d 1117, 1119 (10th Cir. 2005)).
30
   E.g., Leverington v. City of Colo. Springs, 643 F.3d 719, 723 (10th Cir. 2011).
31
   Hall v. Witteman, 584 F.3d 859, 863 (10th Cir. 2009) (citations and quotations omitted).
32
   Id. (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)).
33
   See Fed. R. Civ. P. 10(c); Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322–23
(2007); Hall v. Bellmon, 935 F.2d 1106, 1112 (10th Cir. 1991); see also Needham, 854 F. Supp.
2d at 1148 (utilizing documents referred to and central to plaintiff’s claims in resolving a motion
for judgment on the pleadings without converting the motion to a motion for summary
judgment); see also Kaempe v. Myers, 367 F.3d 958, 965 (D.C. Cir. 2004) (judicially noticing,
and permitting a court to consider, public documents filed with the USPTO on reviewing a
judgment on a motion to dismiss).
                                                 1
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                                        LEGAL ANALYSIS

          In this case, the Political Parties allege that SB54 should be enjoined, and the Political

Parties be awarded damages, because SB54 mandates the use of certain political party names and

“circles” in accordance with candidates who have been nominated through SB54’s process.34 In

other words, the Political Parties contend, applying their names and symbols to candidates on a

ballot following a process that they do not prefer, constitutes trademark infringement.

          The Political Parties’ claims fail because the State Defendants are immune from suit

pursuant to the Eleventh Amendment to the U.S. Constitution. They fail on their merits, because

the State Defendants have not “used” the Political Parties’ marks “in commerce,” nor have they

“used” them “in connection with goods and services,” all of which are requirements for a

trademark infringement claim. Finally, even if the Court believes that the Political Parties have

stated a claim under the “commercial use” elements, the Political Parties’ claims fail because

they have consented to the use of their names, symbols, and circles on ballots.

     I.      The Political Parties’ Trademark Infringement and Unfair Competition Claims
             Are Analyzed Under the Same Federal Standard.

          Both the Utah Republican Party and the Utah Constitution Party allege that SB54 should

be enjoined, and damages awarded, because the enactment of SB54 would cause infringement of

their common law trademarks. The Utah Republican Party grounds its claim in federal law,

citing to Lanham Act sections 34, 35, and 43(a), 15 U.S.C. §§ 1116, 1117 and 1125.35 The

Constitution Party refers only to a state law trademark registration and “statutory and common

law trademark infringement” as the basis of the cause of action, but seeks damages and fees

34
   (Republican Party Compl. (doc. 2) at ¶ 121–122; Constitution Party Am. Compl. (doc. 30) at
¶¶ 43–45.)
35
   (See Republican Party Compl. (doc. 2) at ¶¶ 119–122.)
                                                  2
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pursuant to federal law.36 Regardless, there is no discernable difference between the standards

applied to the claims based on Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a), and Utah

common law unfair competition standards.37 Therefore, the Court may analyze the Political

Parties’ trademark infringement claims utilizing federal law.

       Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a), provides two separate rights of

action. One is a right for false advertising, a right which is not at issue in this case.38 The second

is a right of action known as unfair competition. This cause of action is the functional equivalent

of a civil action for trademark infringement. 39 The unfair competition provisions of the Lanham

Act provide a right of action to the owner of a trademark against “any person who, on or in

connection with any goods or services … uses in commerce any word, term name, symbol, or

device … which is likely to cause confusion, or to cause mistake, or to deceive as to the

affiliation, connection association of such person with another person, or as to the origin,

sponsorship, or approval of his or her goods, services, or commercial activities by another




36
   (See Constitution Party Am. Compl. (doc. 30) at ¶¶ 43, 46, 49.)
37
   See, e.g., Utah Lighthouse Ministry, Inc. v. Discovery Computing, Inc., 506 F. Supp. 2d 889,
902 (D. Utah 2007) (dismissing state statutory and common law unfair competition claims
because the requirements, including a commercial use requirement, were “similar to the
requirements of the Lanham Act”); Framed Wall Art, LLC v. PME Holdings, LLC., No. 2:08-
CV-781-DAK, 2008 WL 5205822, at * 3 (D. Utah Dec. 12, 2008) (mem. decision & ord.
denying prelim. inj. not selected for publication) (applying the conclusions regarding the Lanham
Act to state trade dress claims); digEcor, Inc. v. E.Digital Corp., No. 2:06-CV-437 CW, 2009
WL 928679, at * 4 (D. Utah April 2, 2009) (ord. & mem. decision not selected for publication)
(recognizing Utah’s common law unfair competition cause of action and denying summary
judgment on the claim “[f]or the same reasons that the court [denied] digEcor’s Lanham Act
claim”).
38
   See Lanham Act § 43(a)(1)(B); 15 U.S.C. § 1125(a)(1)(B).
39
   E.g. Donchez v. Coors Brewing Co., 392 F.3d 1211, 1219 (10th Cir. 2004); Jordache Enters.,
Inc. v. Hogg Wyld, Ltd., 828 F.2d 1482, 1484 (10th Cir. 1987).
                                                  3
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person ….”40 For a plaintiff to prevail on such a claim, it must plead and prove “(1) that plaintiff

has a protectable interest in the mark; (2) that the defendant has used ‘an identical or similar

mark in commerce’; and (3) that the defendant’s use is likely to confuse consumers.”41

       For the purposes of this motion only, the State Defendants assume that the Political

Parties have a protectable interest in the marks they have asserted.42         Likewise, the State

Defendants do not address whether the “use” on the ballot is likely to “confuse consumers”

(though the State Defendants do not admit that voters in a voting booth are “consumers” under

the Lanham Act). But the Political Parties’ trademark claims should be dismissed because the

Parties’ claims fail the second element as a matter of law. Listing a party’s name or symbol on a

ballot is not commercial use of the Political Parties’ marks. Furthermore, because they choose

which track of SB54 they proceed under, and because they voluntarily offer the use of their

marks on the ballot, the Political Parties’ cannot prove that the State Defendants are using the

40
    See Lanham Act § 43(a), 15 U.S.C. § 1125(a).
41
    1-800 Contacts, Inc. v Lens.com, Inc., 722 F.3d 1229, 1238 (10th Cir. 2013).
42
   Because the Political Parties do not have federal registrations, they bear the burden of proving
protectability. Protectability is not a foregone conclusion in this case. The Republican Party
makes no allegation of protectability of their mark, and does not allege what goods or services to
which their mark has been applied, other than acting as a party identifier for candidates on a
ballot. (Cf. Republican Party Compl. (doc. 2) at ¶121.) The Constitution Party alleges in its
complaint only that “has developed a common law trademark and good will associated with its
name.” (Constitution Party Am. Compl. (doc. 30) at ¶ 43.) Of course, trademark rights do not
exist in a vacuum; they must be associated with particular goods or services. United Drug Co. v.
Theodore Rectanus Co., 248 U.S. 90, 97 (1918) (“There is no such thing as property in a trade-
mark except as a right appurtenant to an established business or trade in connection with which
the mark is employed. The law of trade-marks is but a part of the broader law of unfair
competition; the right to a particular mark grows out of its use, not its mere adoption; its function
is simply to designate the goods as the product of a particular trader and to protect his good will
against the sale of another’s product as his; and it is not the subject of property except in
connection with an existing business.”); Intrawest Fin. Corp. v. W. Nat’l Bank of Denver, 610 F.
Supp. 950, 956 (D. Colo. 1985) (“It is axiomatic that a trademark has no existence apart from the
good will of the product or service it symbolizes.”). Neither Political Party has alleged in its
complaint facts to show that they have a protectable mark used in commerce.
                                                 4
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marks “without consent.” Before analyzing the merits of the Political Parties’ claims in detail,

the State Defendants’ immunity must be first addressed.

     II.      The Political Parties’ Trademark Claims Are Barred by Eleventh Amendment
              Immunity.

     The trademark infringement claims brought by the Political Parties are barred by the

Eleventh Amendment to the U.S. Constitution. The amendment provides:

           The Judicial power of the United States shall not be construed to extend to any
           suit in law or equity, commenced or prosecuted against one of the United States
           by Citizens of another State, or by Citizens or subjects of any Foreign State.43

Such immunity bars suit against a state by its own citizens,44 and to suits against state officials

sued in their official capacities for retrospective monetary relief.45

           In College Savings Bank v. Florida Prepaid Postsecondary Education Expense Board,46

the United States Supreme Court held that, despite Congress’s explicit attempt to abrogate

sovereign immunity in federal trademark cases,47 the Eleventh Amendment protects states from

Lanham Act false advertising suits.48       Noting that Congress did not have the authority to

abrogate sovereign immunity under the Commerce Clause,49 the Court held that the common law

torts of unfair competition would not “by definition” encompass property interests protected by

the Fourteenth Amendment, and thus could not be a valid basis to abrogate sovereign

immunity.50 The Court also held that a state’s voluntary choice to engage in interstate marketing


43
   U.S. Const. amend. XI.
44
   Hans v. Louisiana, 134 U.S. 1, 10–11, 15–21 (1890).
45
   Edelman v. Jordan, 415 U.S. 651, 676–77 (1974).
46
   527 U.S. 666 (1999).
47
   See Lanham Act § 43(a)(2), 15 U.S.C. § 1125(a)(2).
48
   Fla. Prepaid, 527 U.S. at 690.
49
   Id. at 672.
50
   Id. at 674.
                                                   5
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and administration of a government program likewise did not result in an implicit waiver of

sovereign immunity.51

       The Court’s reasoning in Florida Prepaid has been held to apply to all federal unfair

competition claims. A leading trademark scholar has concluded that “a trademark owner cannot

sue a state for infringement in violation of the Lanham Act in either federal court or state

court,”52 and lower courts have held that unfair competition claims are barred by the Eleventh

Amendment.53 As a result, the Political Parties’ federal claims for damages resulting from any

infringement are barred.54

       The Political Parties’ requests for injunctive and declaratory relief are also barred. The

Constitution Party’s Amended Complaint alleges only a state trademark registration55 and

mentions only “willful statutory and common law trademark infringement.”56 To the extent the

Constitution Party seeks to enforce state or common-law rights, and seeks injunctive,

declaratory, or monetary relief pursuant to state law, those claims are also foreclosed by the

Eleventh Amendment.57




51
   Id. at 685–86.
52
   J. Thomas McCarthy, 4 McCarthy on Trademarks and Unfair Competition § 25:66 (4th ed.
updated 2015); see also Bd. of Regents of Univ. of Wisc. Sys. v. Phoenix Software Int’l, Inc., 565
F. Supp. 2d 1007, 1013 (W.D. Wisc. 2008) (applying Florida Prepaid to Lanham Act trademark
infringement and unfair competition claims).
53
   E.g., State Contracting & Eng’g Corp. v. Florida, 258 F.3d 1329, 1335–36 (Fed. Cir. 2001);
Va. Polytechnic Inst. & State Univ. v. Hokie Real Estate, Inc., 813 F. Supp. 2d 745, 751–52
(W.D. Va. 2001).
54
   (Republican Party’s Compl. (doc. 2) at ¶ 122; Constitution Party’s Am. Compl. (doc. 30) at
¶ 49.)
55
   (Constitution Party’s Am. Compl. (doc. 30) at ¶ 43.)
56
   (Id. at ¶ 47.)
57
   Pennhurst State Sch. v. Halderman, 465 U.S. 89, 106 (1984).
                                                6
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            The Republican Party’s request for injunctive relief pursuant to the Lanham Act against

Governor Herbert, and any similar request implicit in the Constitution Party’s Amended

Complaint, are also barred. Eleventh Amendment immunity does not bar suits for prospective

injunctive relief to prevent the violation of federal law against a state official in her official

capacity.58 However, to prevail on such a claim, the officer must “have some connection with

the enforcement of the act.”59 Neither political party has alleged any facts to connect Governor

Herbert, in his official capacity, to any alleged trademark infringement.60

            Eleventh Amendment Immunity bars the Political Parties’ claims for Lanham Act

damages, injunctive relief based on state unfair competition law, and injunctive relief against

Governor Herbert based on trademark infringement.

     III.      The Political Parties’ Trademark Claims Fail on Their Merits.

            If Eleventh Amendment immunity does not bar the Political Parties’ trademark claims (or

the Court would be inclined to allow either party to amend their complaint to state a claim for

injunctive relief under Ex parte Young) the trademark claims should nonetheless be dismissed on


58
   Ex parte Young, 209 U.S. 123, 156 (1908).
59
   Id. at 157.
60
    (Cf. Republican Party’s Compl. (doc. 2) at ¶¶ 12, 14.) Additionally, neither party has
sufficiently alleged facts in their complaint to plead a claim for injunctive relief against
Lieutenant Governor Cox. Though the parties have alleged that Lieutenant Governor Cox is the
“chief election officer,” of the State of Utah, the Parties have made no allegations that Lieutenant
Governor Cox is the individual who will actually engage in any actions infringing the Political
Parties’ trademarks. See Pennington Seed, Inc. v. Prod. Exch’g No. 299, 457 F.3d 1334, 1342
(Fed. Cir. 2006) (holding that a university official may not be sued for injunctive relief for patent
infringement if he has only a “general, state-law obligation to oversee a University’s patent
policy”); Parallel Synthesis Techs., Inc. v. DeRisi, No. 5:13-cv-05968-PSG, 2014 WL 4748611,
at * 8 (N.D. Cal. Sept. 23, 2014) (ord. not selected for publication) (recognizing that only a state
official that authorized the licensing of a patent and the actual posting of the technology to a
website would be liable for a patent infringement injunction, “and not his or her supervisors—
however far up the chain”).
                                                   7
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their merits. The Lanham Act is not an appropriate vehicle to address the types of harms

asserted by the Political Parties. And even if the Court would permit the Political Parties to

shoehorn their complaints into the commercial rubric of the Lanham Act, there can be no unfair

competition because the Political Parties’ marks do not appear on the ballot unless the parties

permit the State to put them there.

       A. Plaintiffs’ Trademark Claims Should Be Dismissed Because the Placement of a
          Political Party Name and Symbol is Not “Commercial Use.”

       To state a trademark infringement claim, a party must plead and prove that the defendant

used a similar or identical mark “in commerce,” and “in connection with goods and services.”61

The Political Parties have not even pleaded that the State Defendants have “used” any of the

marks “in commerce” or “in connection with any goods or services.”62 This failure is fatal to the

Political Parties’ trademark claims.63 But even if the Court were to imply into the complaints

that the placement of the Political Parties’ marks electoral ballots is a “use” of the mark by the

State Defendants, that use is neither “in commerce” nor “in connection with any goods or

services” as a matter of law.64




61
   1-800 Contacts, Inc. v Lens.com, Inc., 722 F.3d 1229, 1238 (10th Cir. 2013); Lanham Act
§ 43(a)(1)(A), 15 U.S.C. § 1125(a)(1)(A).
62
   The Republican Party alleges only that the State uses the marks “in a way in its administration
of the primary and general elections in Utah ….” (Republican Party Compl. (doc. 2) at ¶ 121.)
The Constitution Party alleges only that “SB54 destroys and/or infringes the Constitution Party’s
trademark, good will, and name ….” (Constitution Party Am. Compl. (doc. 30) at ¶ 43.)
63
   HQM, Ltd. v. Hatfield, 71 F. Supp. 2d 500, 504 (D. Md. 1999) (granting 12(b)(6) motion on
plaintiffs’ claim that registration of a domain name for e-mail services violated the Lanham Act,
because “[p]laintiffs fail to allege—even “on information and belief”—that Defendant uses their
mark in connection with any “goods or services,” much less in a way that would satisfy the
likelihood of confusion test.”).
64
   Lanham Act § 43(a), 15 U.S.C. § 1125(a).
                                                8
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               1. The Lanham Act’s Purpose is to Protect Against Commercial Injuries.

       The U.S. Supreme Court recently reaffirmed the importance of the commercial nexus

required to bring a Lanham Act claim.              In Lexmark International, Inc. v. Static Control

Components, Inc.,65 the Court examined the issue of who could sue for harm under the Lanham
                                              66
Act’s protection against false advertising.         The Court determined that someone who is not a

direct competitor with the allegedly nefarious advertiser may state a claim under the Lanham Act

if the plaintiff’s injury falls within the “zone of interests protected by the law invoked,” and that

the plaintiff’s injuries are proximately caused by violations of the statute.67 It rejected the

“expansive reading” of the statute, that “any person who believes that he or she is likely to be

damaged” by a defendant’s actions may sue under the statute. 68 Citing to the enumerated

purposes of the Lanham Act and common law,69 the Court recognized that the Act is “concerned

with injuries to business reputation and present and future sales.”70 Therefore, a plaintiff must

plead an “injury to a commercial interest in reputation or sales” to come within the scope of the


65
   ___ U.S. ___, 134 S. Ct. 1377 (2014).
66
   False advertising causes of action comprise different legal elements from a false association
claim under 43(a)(1)(A), Lexmark, 134 S. Ct. at 1384, but the Court did not always limit its
analysis to false advertising claims. See Lexmark, 134 S. Ct. at 1391 (“[T]he Lanham Act
authorizes suit only for commercial injuries …. We thus hold a plaintiff suing under § 1125(a)
ordinarily must show economic or reputational injury flowing directly from the deception wright
by the defendant’s advertising….”). Furthermore, at least some courts have applied Lexmark to
false association claims under Section 43(a)(1)(A). See Belmora LLC v. Bayer Consumer Care
AG, ___ F. Supp. 3d ___, 2015 WL 51871, at *2 (E.D. Va. Feb. 6, 2015); Lundgren v. AmeriStar
Credit Solutions, Inc., ___ F. Supp. 2d ___, 2014 WL 4079962, at **7–8 (W.D. Pa. Aug. 18,
2014) (holding that because the damages alleged by plaintiff flowed only from his wrongful
termination rather than his claims of false association based on his appearance in his former
employer’s commercials).
67
   Lexmark, ___ U.S. at ___, 134 S. Ct. at 1388, 1390 (further citations and quotations omitted)
68
    Id. at 1388.
69
   See Lanham Act § 45, 15 U.S.C. § 1127; Lexmark, 134 S. Ct. at 1389–90.
70
   Id. at 1390.
                                                     9
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Act.71

         The Lexmark case focused on the plaintiff’s commercial injury. It further reinforced the

purposes of the Lanham Act—to protect consumer confusion in commercial transactions. It is

through that lens that this Court should examine the elements of the Political Parties’ trademark

infringement claims, and carefully scrutinize the elements required for the Political Parties to

state a claim. A right of a political party to choose how it conducts its primaries, and who it

endorses on a ballot is not within the “zone of interests protected” by the Lanham Act.

                2. The Tenth Circuit Requires that a Defendant’s Use Be Commercial, and
                   in Connection with Goods and Services, to Create Lanham Act Liability.

         In accord with Lexmark, the Tenth Circuit has placed a special emphasis on the

requirement that, for a plaintiff to succeed on a trademark infringement claim, the allegedly

infringing use by the defendant must be commercial in nature. In Utah Lighthouse Ministry v.

Foundation for Apologetic Information & Research (FAIR), the Tenth Circuit Court of Appeals

affirmed the trial court’s ruling holding that the defendant’s use of the plaintiff’s website

trademarks were not sufficiently commercial to subject the defendants to Lanham Act liability.72

The plaintiffs in that case ran a website critical of the Church of Jesus Christ of Latter-day

Saints; the defendant, a volunteer organization that responds to criticism of the Church, used the

plaintiff’s marks with the addition of other notations to satirize the plaintiff’s critique of the LDS




71
  Id.
72
  Utah Lighthouse Ministry v. Found. for Apologetic Info. & Research (FAIR), 527 F.3d 1045,
1052–53 (10th Cir. 2008), aff’g Utah Lighthouse Ministry, Inc. v. Discovery Computing, Inc.,
506 F. Supp. 2d 889 (D. Utah 2007).
                                                 10
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church.73 The FAIR website had an online bookstore, and the website that contained the critique

of Utah Lighthouse Ministry, hyperlinked to the FAIR website.74

       In determining that FAIR had not used Utah Lighthouse Ministry’s marks commercially,

the court rejected arguments that the fact that FAIR’s mere diversion of users away from Utah

Lighthouse Ministry’s website, and FAIR’s hyperlinking to websites that sell goods were

sufficient to show a defendant’s “commercial use” of a mark for the purposes of the Lanham

Act.   It noted that “[t]he Lanham Act is intended ‘to protect the ability of consumers to

distinguish among competing producers, not to prevent all unauthorized uses” and agreed with

other courts that “trademark rights cannot be used ‘to quash an unauthorized use of the mark by

another who is communicating ideas or expressing points of view.’”75 The “overwhelmingly

noncommercial” nature of the site made it too much of a “roundabout path” to the advertising or

commercial use of others for the Lanham Act’s protections to be triggered.76

       The Court likewise rejected Utah Lighthouse Ministry’s argument that the mere fact that

the trademark owner (the plaintiff) sold goods or services is sufficient to state a Lanham Act

claim. It held:

       Such an interpretation eliminates the requirement of an economic competitor and
       is therefore inconsistent with the purpose of the Lanham Act “to protect the
       ability of consumers to distinguish among competing producers…. The
       “interference” theory has also been criticized on the ground that it would “place
       most critical, otherwise protected consumer commentary under the restrictions of
       the Lanham Act.” In our view, the defendant in a trademark infringement and
       unfair competition case must use the mark in connection with the goods or
       services of a competing producer, not merely to make a comment on the

73
   Id. at 1049.
74
   Id.
75
   Id. at 1052–53 (quoting Two Pesos, Inc. v. Taco Cabana, Inc., 505 U.S. 763, 774 (1992); L.L.
Bean, Inc. v. Drake Publishers, Inc., 811 F.2d 26, 29 (1st Cir. 1987)).
76
   Id. (quoting Bosley Med. Inst., Inc. v. Kremer, 403 F.3d 672, 679 (9th Cir. 2005)).
                                               11
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       trademark owner's goods or services. The Lanham Act addresses the specific
       problem of consumer confusion about the source of goods and services created by
       the unauthorized use of trademarks. Unless there is a competing good or service
       labeled or associated with the plaintiff's trademark, the concerns of the Lanham
       Act are not invoked. 77

Finally, the Tenth Circuit Court of Appeals rejected the argument that because the Internet is an

instrument of commerce, FAIR had made commercial use of the Utah Lighthouse Ministry’s

mark. “[T]his does not mean that any use of the Internet is necessarily commercial for the

purposes of the Lanham Act, as UTLM advocates. Moreover, conflating these two ‘commerce’

requirements would greatly expand the scope of the Lanham Act to encompass objectively

noncommercial speech. We therefore decline to adopt UTLM's proposed rule that any use of a

trademark on the Internet is a use “in connection with goods or services.”78

       The law in the Tenth Circuit is clear: A plaintiff’s “commercial use” of her mark is

insufficient to bring a defendant’s noncommercial use within the purview of the Lanham Act.

The fact that a defendant’s use of the plaintiff’s trademark diverts users away from the plaintiff is

insufficient. The fact that the defendant may be tangentially related to commerce, or use a

medium of commerce (like the Internet) is insufficient. To trigger Lanham Act liability, a

defendant must actually “use” the mark “in connection with goods and services” “in commerce.”

77
   Id. at 1053–54 (citing and quoting Two Pesos, 505 U.S. at 77; Bosley, 403 F.3d at 679;
Prestonettes, Inc. v. Coty, 264 U.S. 359, 368 (1924) (“A trademark only gives the right to
prohibit the use of it so far as to protect the owner's good will against the sale of another's
product as his.”); Lang v. Ret. Living Publ’g Co., 949 F.2d 576, 582–83 (2nd Cir. 1991)
(“[T]rademark infringement protects only against mistaken purchasing decisions and not against
confusion generally.”) (further citations and quotations omitted)); see also Bd. of Directors of
Sapphire Bay Condominiums W. v. Simpson, Civil Action No. 04-62, 2014 WL 4067175, at
** 3–4 (D.V.I. Aug. 13, 2014) (mem. not selected for publication) (noting that the “Lanham Act
only regulates commercial speech” and holding that the allegation that a gripe website used
plaintiff’s marks “in commerce” “because the websites economically injured and continue to
injure the Board” was an insufficient basis under the Lanham Act).
78
   Id. at 1054.
                                                 12
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               3. Courts Around the Country Prohibit Lanham Act Claims When the
                  Defendant’s Use is Noncommercial.

       Courts around the country have shared this concern with expanding the scope of Lanham

Act liability when the speech at issue is not commercial. For example, a website that wrote a

blog post criticizing a recently released book did not use the book owner’s trademark “in

commerce” to trigger Lanham Act protection, even though the blog publisher wrote about the

same topics and created other publications for profit.79

       In another case, the court held that an employer did not commercially use a union’s

marks commercially, when the employer used duplications of a union letter demanding

termination of employees who did not pay union dues, to encourage workers not to unionize.80

Even though the employer copied the union’s logo, and even though the employer and the union

both engaged in commercial activities in general, the court held that the use was not

commercial.81 Another district court reached the same conclusion on the reverse facts—a labor


79
   Farah v. Esquire Magazine, 736 F.3d 528, 541 (D.C. Cir. 2013).
80
   Int’l Ass’n of Machinists & Aerospace Workers, AFL-CIO v. Winship Green Nursing Ctr., 914
F. Supp. 651, (D. Me. 1996), aff’d 103 F.3d 196 (1st Cir. 1996).
81
   Id. at 655–56. The Court held:
                 Neither Defendants nor Plaintiffs are competing for the ‘sale’ to a
         consumer of their respective ‘services.’ Instead, Defendants and Plaintiffs are
         competing for the vote from an employee, for assent to, support of, and
         participation in their respective visions of the proper ordering of the workplace.
         The fact that some money is required to realize the union’s particular vision does
         not suffice to render the realization of that vision a commercial ‘service’ for
         trademark purposes.
                 Second, Plaintiffs misread “any goods and services” to include the
         holder’s as well as the infringer’s goods or services. All registered marks are, by
         definition, ‘in connection with’ the mark holder’s “goods or services,’ All
         unauthorized uses of such marks, in turn, inherently bear that same connection.
         On Plaintiffs’ reading, then, all unauthorized uses would be ‘in connection with a
         [holder’s] goods or services,’ and no unauthorized use would ever be excluded by
         operation of this language. This interpretation not only effectively reads the
                                                13
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union’s use of a restaurant’s trademark was not a Lanham Act violation because the parody flier

which included information about health code violations was not a “misappropria[tion of] the

mark in commerce” nor related to the “sale or advertising of a service.”82

       And back in the District of Utah, the court dismissed, on a 12(b)(6) motion, a trademark

infringement claim brought against a group of anonymous individuals who created a parody

website, with a fake press release, mimicking the trademarks and criticizing the political views of

the leaders of Koch Industries.83 The Court held:

       Koch lacks any evidence or plausible theory as to how Defendants could have
       profited commercially from an anonymous spoof website that sold no products
       and solicited no donations, that was disclosed only to reporters, and that was only
       online for a matter of hours. Defendants' speech proposed no commercial
       transaction. Instead, it sought to draw public attention to Koch's controversial
       stance on a political issue. Koch's trademark and unfair-competition claims,
       therefore, fall outside the scope of the Lanham Act and are foreclosed by the act's
       commercial-use requirement.84

       These cases demonstrate the commercial requirement that must exist in all trademark

infringement or unfair competition claims. The Lanham Act requires a defendant’s commercial

use, and placing a political party’s name, symbol, or circle cannot qualify.




       language out of the statute, it ignores the critical function of this language,
       discussed above, to help delineate the scope of trademark property rights so that
       conflicts with the First Amendment are minimized.
Id.
82
   WHS Entmnt. Ventures v. United Paperwokers Int’l Union, 997 F. Supp. 946, 949–50 (M.D.
Tenn. 1998).
83
   Koch Indus., Inc. v. Does, No. 2:10CV1275DAK, 2011 WL 1775765, at *5 (D. Utah May 9,
2011) (mem. decision & ord. not selected for publication).
84
   Id. at *5; accord School of Visual Arts v. Kuprewicz, 771 N.Y.S.2d 804, 810–11 (N.Y. Sup. Ct.
2003) (holding no Lanham Act violation by an individual who posted false job openings at the
plaintiff’s place of business, because the individual had no goods or services to advertise, the
individual did not compete with the school in any way, and the ads actually directed prospective
employees to contact the plaintiff).
                                                14
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               4. Using a Political Party’s Trademark on a Ballot Is Not a Commercial Use
                  in Connection with Goods or Services.

       The Lanham Act cannot be used to challenge laws which permit the use of trademarks on

a ballot. The Ninth Circuit rejected a similar argument to the ones the Political Parties advance

in this case in Washington State Republican Party v. Washington State Grange.85 After the U.S.

Supreme Court determined that Washington State’s “top two” primary system did not facially

violate the Washington political parties’ association rights,86 the parties’ claims were remanded

for consideration of their as-applied challenges.        In addition to their First Amendment

challenges, one of the political parties argued that the primary system violated their trademark

rights.87 The trial court granted the government’s motion to dismiss, and the Ninth Circuit

affirmed in three paragraphs.88

       The court held that Washington did not use the political party’s mark “in connection with

the sale … of any goods or services.” It agreed that activities of political parties can be

“services” for trademark purposes, but held that the party had failed to show that the state offered

competing services to the public.89 Because the party had “not plausibly alleged that the state

uses party labels on the ballot to perform a service in competition with” the political party,

dismissal was appropriate.90




85
   676 F.3d 784 (9th Cir. 2012).
86
   Wash. State Grange v. Wash. State Republican Party, 552 U.S. 442, 457 (2008).
87
   Wash. State Republican Party, 676 F.3d at 795.
88
   Id.
89
   Id. (citing Bosley Med. Inst., Inc. v. Kremer, 403 F.3d 672, 679 (9th Cir. 2005)).
90
   Id.
                                                15
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       Similarly, in Sociedad Anonima Vina Santa Rita v. United States Department of the

Treasury,91 the court held that a wine maker’s trademark rights could not prevent the enactment

of a rule permitting use of the trademarked terms by competitors as a designation of appellation.

In the case, a Chilean wine manufacturer sold a number of wines under the brand name SANTA

RITA.92 The Bureau of Alcohol, Tobacco, and Firearms (“ATF”) established a rule designating

“Santa Rita Hills” as an American Viticultural Area, which allowed vintners in the area to use

the words as an appellation of origin on their wines.93 The winery sued, alleging, among other

things, that the rule infringed on and diluted the value of the SANTA RITA trademark. The

district court rejected the winery’s trademark argument. It first noted that the ATF could not be

liable because it “has not used the name ‘Santa Rita’ or ‘Santa Rita Hills’ in any meaningful

sense whatsoever. While the Bureau has recognized an AVA under the name ‘Santa Rita Hills,’

it has not used imitated, or copied the name at all.”94 Though the rule may have allowed others

to use the mark on wine, which may or may not give rise to a trademark action, the rule itself did

not contravene the plaintiff’s trademark rights.

       Applying the legal authority to this case, it is clear that the statutory scheme created by

SB 54 is not a commercial use required to maintain a Lanham Act Claim. As stated in Koch

Industries, “[t]he Lanham Act regulates only economic, not ideological or political,

competition.”95 Just as the Ninth Circuit recognized in Washington’s scheme, in SB 54, there is

not any competition between the Political Parties and the State Defendants, much less economic


91
   193 F. Supp. 2d 6 (D.D.C. 2001).
92
   Id. at 8.
93
   Id. at 12.
94
   Id. at 20.
95
   Koch Indus., No. 2:10CV1275DAK, 2011 WL 1775765, at *5.
                                                   16
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competition.96   Utah expresses no interest in which candidate is elected.            It proposes no

commercial transactions,97    It provides no “goods or services” on which a mark could be

applied;98 it merely provides a vehicle for its citizens to decide who to elect as their public

officials. Just as the ATF in Santa Rita, or Washington State in Washington State Republican

Party, the State of Utah does not “use” any political party mark when it regulates how political

party names, symbols, and “circles” appear on a ballot. As such, there can be no “competing

goods or services labeled,” and no commercial use.99 To the extent that Utah “uses” any marks,

its “use” is much closer to those in FAIR, Farah, and Vina Santa Rosa, as non-commercial

speech pursuant to a statutory scheme for candidates to be affiliated with a party.

96
   Wash. State Repub. Party, 676 F.3d at 795. This is a significant factor that distinguishes the
case at bar from cases in other jurisdictions in which political groups have been able to sue for
trademark protection of their marks. For example, in United We Stand America, Inc. v. United
We Stand, America New York, Inc., the Second Circuit held that that two political parties, who
both alleged ties to United We Stand, Ross Perot’s 1992 presidential campaign, were “using” the
mark “in commerce” because the parties’ political activities were “services” and use of marks “in
commerce” is a jurisdictional imitation rather than a commercial requirement. 128 F.3d 86, 88–
91 (2d Cir. 1997). But in that case, there was no question that the two parties were actually
competing with each other, and one group was attempting to palm off itself with another.
Likewise, in Hershey Co. v. Friends of Steve Hershey, the court recognized that a political
candidate’s use of Hershey chocolate bar trade dress was “in commerce and was used “in
connection with services” because apolitical candidate “used [the Hershey] design to promote a
political candidate, disseminate political information, host campaign events and solicit
donations.” 33 F. Supp. 3d 588, 592–93 (D. Md. 2014). The Court noted the serious First
Amendment issues at play when applying the Lanham Act to political speech, unless the
defendant is attempting, himself, to associate with the consumer brand. Id. Unlike the political
parties, or political candidate in United We Stand and Hershey, the State Defendants are simply
not using the mark with any goods or services. To hold otherwise would seriously expand the
use of the Lanham Act outside its intended scope, and would have serious First Amendment
speech implications in this and other cases.
97
   Koch Indus., 2011 WL 1775765, at * 5.
98
   It places the (voluntarily given) marks on a ballot corresponding to candidates. But candidates
cannot be considered “goods” or “services” under the Lanham Act. Even if the Thirteenth
Amendment to the U.S. Constitution were not implicated, federal and state election law
prohibiting the purchasing of votes would be.
99
   FAIR, 527 F.3d at 1053.
                                                17
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       Trademark rights and protections against unfair competition exist to protect commercial

goodwill and prevent likelihood of consumer confusion. Applying a party name or symbol on a

general election ballot to a candidate who has won the party nomination pursuant to a process

mandated by state law cannot be a use in commerce, in connection with goods and services, as

required by the Lanham Act. The State Defendants are entitled to judgment as a matter of law.

       B. The Parties Cannot Prevail Because They Consent to the Use of Their Mark on the
          Ballot.

       Even if the Court believes that the changes made in SB54 implicate the Political Parties’

alleged trademark rights, and that the Eleventh Amendment does not immunize them, the State

Defendants are still entitled to judgment on the pleadings because SB54 makes the use of

political parties’ names and symbols on a ballot conditioned on the parties’ consent.           By

providing the option for parties to be “Registered Political Parties” through a nomination/petition

system or “Qualified Political Parties” through a nomination/convention system, SB54 only

allows use of a political party’s name and symbol if they permit such use. Because SB54

requires each party to choose which election “path” it wishes to follow, and because each party’s

symbol is only used if the party chooses a path that provides use of the symbol, any “use” is done

with express party consent, and the Political Parties’ trademark claims fail.

       The Political Parties cannot prevail on trademark infringement if they consent to the

trademark’s use by the defendant.100 As written, SB54 first requires a candidate seeking a

registered party’s nomination as a candidate for elective office on the November ballot to


100
    Triple-I Corp. v. Hudson Assocs. Consulting, Inc., 713 F. Supp. 2d 1267, 1281 (D. Kan.
2010) (noting that one of the elements of a trademark infringement is “defendant used the mark
in commerce without consent”) (citing FAIR, 527 F.3d at 1050; Universal Money Ctrs., Inc. v.
AT&T Co., 22 F.3d 1527, 1529 (10th Cir. 1994)).
                                                18
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designate which party, if any, on their declaration of candidacy. 101 To avoid a possibility of

duplicitous behavior or confusion on the part of the voter, the law also mandates that no

candidate may appear on the ballot as the candidate of more than one political party. 102 If a

candidate has filed for a partisan office, the filing officer is required by law to provide a certified

copy of the declaration of candidacy to the chair of the county or state political party of which

the candidate is a member.103 If the leaders of the party from which the candidate is seeking a

nomination have an objection to a candidate’s designation of party, Utah law provides that they

may file an objection to the candidate within five days. 104

       Additionally, to qualify to run as a partisan candidate through the petition process, SB54

requires that a candidate acquired “qualified” signatures.         Those signatures must be from

registered voters affiliated with the party for which the candidate is seeking the nomination.105

In other words, for a candidate to be placed on the ballot with the marks and symbols of the

party, (1) the candidate must publicly seek that party endorsement, (2) voters affiliated with that

party must sign the petition seeking the candidate’s placement on the ballot, and (3) the party

leaders have the opportunity to object to the candidate. These provisions of the law, and the

anticipated conduct of all relevant players in an election contest, demonstrates that the marks will

be used on the ballot with consent.




101
    S.B. 54 § 11(1)(c) (codified at Utah Code § 20A-9-201(c)).
102
    Utah Code § 20A-9-201(2)(a)(ii).
103
    Utah Code § 20A-9-201(3)(c)(vi). If a candidate is running for the nomination for a QPP, the
Lieutenant Governor must post the candidate’s intent to gather signatures to the Lieutenant
Governor’s website. S.B. 54 § 17(9)(e) (codified at Utah Code § 20A-9-408(9)(e)).
104
    Utah Code § 20A-9-202(5)(a).
105
    S.B. 54 § 13(2)(a)(ii) (codified at Utah Code § 20A-9-403(2)(a)(ii)).
                                                  19
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       Utah law requires party consent before its name or symbol is used with a candidate in a

general election. In general elections, section 20A-6-301(1)(a)(ii) ensures that no symbols,

markings, or other descriptions of a political party or group except for a registered political party

“that has chosen to nominate its candidates” may be used on a paper ballot.106 If a party chooses

to be a registered political party, and complies with the provision of SB54, then the party

symbols and names will be used with the candidates that win the selection processes the party

has chosen.107 A party who chooses not to follow the RPP or QPP procedures need not worry

about the unauthorized use of its name or mark on a ballot—such use is prohibited.108

The Republican Party admits that where a registered political party complies with the law, that

their candidates are assigned on the ballot accordingly.109 They also acknowledge that when the

procedures are not followed, that the candidates be placed on the ballot as “unaffiliated.”110

This, then, is no different from previous elections, where parties have provided marks, symbols,

and “party circles” for printing on the ballot.       In fact, the Utah Republican Party used a

November 2014 ballot as a specimen in support of its federal trademark application.111 That

means the Utah Republican Party has asserted to the U.S. Patent and Trademark Office that it

believes the 2014 ballot is an example of the Utah Republican Party’s use of the Utah




106
    S.B. 54 §§ 5(1)(a)(ii), 15(5) (codified at Utah Code §§ 20A-6-301(1)(a)(ii), 20A-9-406(5)).
107
    Id.
108
    S.B. 54 § 5(1)(g), (codified at Utah Code § 20A-6-301(1)(g)).
109
    (Republican Party’s Compl. (doc. 2) at ¶ 64.)
110
    (Id. at ¶¶ 65-66).
111
    See Specimen of Use, USPTO Trademark Application Serial No. 86/524,823 (attached hereto
as Exhibit B, available at
http://tsdr.uspto.gov/documentviewer?caseId=sn86524823&docId=SPE20150207092333
                                                 20
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Republican Party’s mark.112 The specimen demonstrates the Utah Republican Party’s consent to

use their names and symbols on a ballot. Though SB54 may attach additional strings to use on

future ballots, they are strings a party is free to accept or reject.

        C. The Political Parties Wrongly Conflate Their First Amendment and Lanham Act
           Rights.

        When a party chooses not to comply with SB54, their candidates are listed as unaffiliated,

and no name, symbol, or circle is affixed to those candidates. Thus, the Utah Republican Party

has argued, SB54 creates an “unconstitutional choice,” between agreeing to a process they

believe is unconstitutional or losing their status as a party on the ballot. 113           While the

“unconstitutional choice” doctrine may be an issue regarding the Political Parties’ associational

rights, it is by no means a doctrine that implicates Lanham Act protections. If the Political

Parties agree to a primary process in accordance with SB54, then the candidate who wins the

primary will be associated with the registered political party and its circle. If the Political Parties

choose not to engage in such a process, then no symbols will be used. Any use of the Political

Parties’ names, symbols, or circles is dependent on the election of the party, and SB54’s

112
    Lanham Act § 1(a)(1), 15 U.S.C. § 1051; see Application of Bose Corp., 546 F.2d 893, 897
(C.C.P.A. 1976) (“An important function of specimens in a trademark application is, manifestly,
to enable the PTO to verify the statements made in the application regarding trademark use. In
this regard, the manner in which an applicant has employed the asserted mark, as evidenced by
the specimens of record, must be carefully considered in determining whether the asserted mark
has been used as a trademark with respect to the goods named in the application.” (citations
omitted)); see also Trademark Manual of Examining Procedure § 1301.04(f) (2015) (“To be
acceptable, a service-mark specimen must show the mark sought to be registered used in a
manner that demonstrates a direct association between the mark and the services.”). The State
Defendants disagree with the Utah Republican Party that a ballot is a sufficient specimen to
show that there is some association with the mark and any services provided by the Utah
Republican Party. Nevertheless, the Utah Republican Party’s choice to submit such a specimen
is highly relevant to demonstrate that the party is, in fact, consenting to the use of their name and
circle on a ballot.
113
    (See, e.g., Pl.’s Am. Mot for Prelim. Inj. (doc. 13) at 18–19.)
                                                   21
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restriction of the use of names and symbols to registered political parties cannot constitute

trademark infringement—no marks are being “used” at all, in either a technical or actual sense.

The Political Parties cannot base an infringement claim on a use they have either voluntarily

submitted to or voluntarily withdrawn from, and thus the claim must be dismissed.

                                        CONCLUSION

       Quite simply, trademark law does not lie in the First Amendment associational
       rights implicated in this matter. Trademark law is designed to protect the
       proprietary rights of private parties from improper commercial uses. This case
       does not involve the propriety rights of the political parties, or [the State]’s
       commercial use of any trademark.114

       These three sentences from the trial court’s ruling in the Washington State Republican

Party case perfectly summarize the deficiencies in the Political Parties’ trademark claims in this

case. As recognized by the U.S. Supreme Court, the Tenth Circuit, and countless lower courts, a

law setting parameters for the use of a political party’s name on a ballot is not a commercial use

in connection with goods or service, triggering liability for unfair competition. The Eleventh

Amendment shields the State, and its officials, from liability. And the Political Parties have

consented, and could continue to consent, to the use of their marks on ballots if SB54 were

implemented.

       The First Amendment rights that the parties may enjoy require serious consideration by

the Court.   But the parties’ trademark claims do not.       Accordingly, the State Defendants

respectfully request that the Court grant their motion, and enter judgment in their favor on the

Political Parties’ trademark claims.


114
   Wash. State Repub. Party v. Wash. State Grange, No. C05-0927-JCC, 2011 WL 92032, at * 7
(W.D. Wash. Jan. 11, 2011) (ord. not selected for publication), aff’d 676 F.3d 784, 795 (9th Cir.
2012).
                                               22
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